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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
              Plaintiff,                 )
                                         )
        v.                               )     No. S5-4:15CR00404 HEA
                                         )
MICHAEL GRADY, and                       )
OSCAR DILLON, III,                       )
                                         )
                     Defendants.         )

  GOVERNMENT'S MOTION TO DISMISS COUNT 33 (UNLAWFUL FLIGHT
   TO AVOID PROSECUTION) AND TO ADMINSTRATIVELY RENUMBER
  REMAINING COUNTS RELATED TO DEFENDANTS GRADY AND DILLON

     COMES NOW the United States of America, by and through Sayler A Fleming,

United States Attorney for the Eastern District of Missouri, and Michael A. Reilly,

Assistant United States Attorney and respectfully moves the Court to dismiss only Count

33 (unlawful flight to avoid prosecution) as to Defendants Grady and Dillon pursuant to

Rule 48 of the Federal Rules of Criminal Procedure.

     In advance of trial, the Government further moves the Court to administratively

renumber the remaining counts pending against Defendants Grady and Dillon as follows:

     Count 31 (Drug Conspiracy) to be renumbered as Count One.

     Count 32 (Obstruction of Justice) to be renumbered as Count Two.

     Count 34 (Money Laundering) to be renumbered as Count Three.

     Count 35 (Witness Tampering) to be renumbered as Count Four.
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     Administratively renumbering the remaining counts will make the indictment easier

to follow by the parties, Court, and jury and may reduce speculation among jurors

regarding other charges that do not pertain to the Defendants.

                                         Respectfully submitted,

                                         SAYLER A. FLEMING
                                         United States Attorney

                                         s/ Michael A. Reilly
                                         MICHAEL A. REILLY #43908MO
                                         Assistant United States Attorney
                                         111 South 10th Street, 20th Floor
                                         St. Louis, MO 63102
                                         (314) 539-2200




SO ORDERED:


HON. HENRY E. AUTREY
UNITED STATES DISTRICT JUDGE
                                                Dated: March         , 2021
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                            CERTIFICATE OF SERVICE

       I hereby certify that on March 15, 2021, the foregoing was filed electronically
with the Clerk of the Court to be served upon Counsel of record.

                                                 s/Michael A. Reilly
                                                 Michael A. Reilly, 43908MO
                                                 Assistant United States Attorney




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